Case 21-10315 Doc779_ Filed 03/29/24 Entered 03/29/24 10:28:36 Desc Main
Document Pageiofi

UNITED STATES BANKRUPTCY COURT
DISTRICT OF MASSACHUSETTS

In re: Shamrock Finance LLC Ch. 11
21-10315-JEB

Debtor

Order

MATTER:

#771 Motion filed by Other Professional Peter M. Armanetti for Final Decree
#778 Supplement to Motion for Final Decree

Having reviewed the Motion and the Supplement, no objections having been filed and good cause being
shown, the Motion is granted. The Liquidating Trustee shall file all monthly operating reports and pay
any fees due to the United States Trustee through the date of this Order. The Court will enter the final
decree by separate order.

Dated: 03/29/2024 By the Court,

Oe €. Pstniok

Janet E. Bostwick
United States Bankruptcy Judge
